Case 2:19-cv-00568-JDL Document 1 Filed 12/18/19 Page 1 of 11   PageID #: 1




                        UNITED STATES FEDERAL COURT
                             DISTRICT OF MAINE



 MELISSA ATER,                 )
 an individual residing in the )
 City of Brunswick,            )
 County of Cumberland,         )
 State of Maine,               )
                               )
 MELISSA ATER, on behalf of    )
 A.A., a minor child,          )
                               )
                Plaintiffs     )
                               )
 v.                            )
                               )
 BATH POLICE DEPARTMENT )
 Located in the City of Bath,  )
 County of Sagadahoc, State of )
 Maine,                        )
                               )
 And                           )
                               )
 MAINE PRETRIAL SERVICES )
 A corporation doing business  )
 in the State of Maine,        )
                               )
 And                           )
                               )
 PHIPPSBURG POLICE             )
 DEPARTMENT,                   )
 Located in the Town of        )
 Phippsburg, County of         )
 Sagadahoc, State of Maine,    )
                               )
 And                           )
                               )
 OFFICERS JOHN DOE 1 & 2       )
 (names unknown)               )
 Officers in the Bath and      )
 Phippsburg Police Departments )
                               )
 AND                           )
                               )



                                     1
Case 2:19-cv-00568-JDL Document 1 Filed 12/18/19 Page 2 of 11                        PageID #: 2




 COREY ATER,                           )
 An individual residing in the         )
 Town of Warren,                       )
 State of Maine,                       )
                                       )
        Defendants                     )

                                COMPLAINT & DEMAND FOR JURY TRIAL

        NOW COMES the Plaintiff, by and through her attorney and respectfully

 demands trial by jury on all of her claims and causes so triable and complains against the

 Defendants as follows:

                                 JURISDICTION AND VENUE

            1. Jurisdiction is invoked pursuant to Tile 28, United States Code, Section

                1331 insofar as Plaintiff’s causes of action raise federal questions under

                the Constitution, laws, treaties or statutes of the United States.

            2. Venue is proper within this District pursuant to Tile 28, United States

                Code, Section 1391(a), insofar as a substantial part of the events or

                omissions giving rise to the claims asserted occurred within the District of

                Maine. The harm sustained by Plaintiff occurred in the District of Maine.

                This action is properly filed in Portland because this case arose in

                Sagadahoc County.

                                              PARTIES

            3. Plaintiff is an individual residing in the County of Sagadahoc, State of

                Maine. Plaintiff A.A. is the minor child of Plaintiff and Defendant Ater.

            4. Defendant Bath Police Department (hereinafter “BPD”) is the law

                enforcement agency for the City of Bath, County of Sagadahoc, State of

                Maine.


                                               2
Case 2:19-cv-00568-JDL Document 1 Filed 12/18/19 Page 3 of 11                 PageID #: 3




          5. Defendant Phippsburg Police Department (hereinafter “PPD”) is the law

             enforcement agency for the Town of Phippsburg, County of Sagadahoc,

             State of Maine.

          6. Defendant Maine Pre-Trial Services is a corporation conducting business

             in the County of Sagadahoc, State of Maine.

          7. Plaintiff presently does not know the names of Officers John Doe 1 and 2,

             but they are police officers for the City of Bath and Town of Phippsburg

             respectively.

          8. Defendant Corey Ater is an inmate at the Maine Correctional Center

             located in the City of Windham, County of Cumberland, State of Maine.

                             FACTUAL ALLEGATIONS

          9. On or about April 2, 2019, Defendant Corey Ater broke into Plaintiff’s

             home and over the course of several hours and days, physically and

             sexually assaulted Plaintiff, causing her severe physical and emotional

             injuries.

          10. Prior to this date, Defendants Bath and Sagadahoc Police Departments,

             Maine Pretrial Services and Officers John Doe 1 and 2, were aware that

             there was probable cause to arrest Defendant Ater for violating his bail

             conditions.

          11. Despite this knowledge, Defendant Maine Pre-Trial Services failed to seek

             to revoke Defendant Ater’s bail and the officers failed to effectuate the

             arrest of Defendant Ater.




                                           3
Case 2:19-cv-00568-JDL Document 1 Filed 12/18/19 Page 4 of 11                PageID #: 4




          12. Prior to April 2, 2019, Defendants named in paragraph 10 notified

             Defendant that he was going to be arrested, creating a known danger to

             Plaintiff.

          13. Defendants Bath P.D., Phippsburg P.D., Maine Pre-Trial Services, and

             Officers Doe 1 and 2, were all aware that Defendant Ater was

             domestically violent and posed a significant risk to Melissa Ater and the

             parties’ child.

          14. Further, despite having the opportunity to locate and arrest Defendant Ater

             prior to and during the assault, Defendants Bath and Phippsburg Police

             Departments, and Officers Doe 1 and 2 negligently failed to perform their

             ministerial duty to execute the arrest of Defendant Ater.

          15. Upon information and belief that Defendants named in paragraph 10

             above violated its own protocols and created a danger to Plaintiff by doing

             so.

          16. Further, on or about April 2 or 3, 2019, Officers Doe 1 and 2 went to

             Plaintiff and formerly Defendant Ater’s residence to see if he was there in

             order to conduct a urine test.

          17. Upon information and belief that upon arriving at the residence, Officers

             Doe 1 and 2 observed the residence front door wide open, blood on the

             floors and walls, and no sign of any person at the residence.

          18. In fact, Defendant Ater had kidnapped Plaintiff and the parties’ minor

             child and was driving around the towns of Bath and Brunswick.




                                              4
Case 2:19-cv-00568-JDL Document 1 Filed 12/18/19 Page 5 of 11                    PageID #: 5




          19. Upon information and believe that despite this very alarming scene,

             neither officer reported this to their respective departments or put out a be

             on the lookout for Defendant Ater or Plaintiff, allowing Defendant Ater to

             continue his criminal enterprise.

          20. Ultimately, Defendant Ater returned to Plaintiff’s residence and eventually

             passed out, allowing Plaintiff to escape to a nearby residence and call

             police.

          21. Plaintiff Melissa Ater sustained significant physical and emotional injuries

             as the result of the brutal attack by Defendant Ater.

          22. Had Defendant Ater been in police custody as he should have been, the

             assault would not have occurred.

          23. Plaintiff A.A. witnessed and observed her father’s brutal attack of her

             mother and sustained severe emotional distress as the result.

          24. As the result of her significant injuries, Plaintiff was hospitalized for

             several days following the assault.

                        COUNT I---NEGLIGENCE
                  DEFENDANT BATH POLICE DEPARTMENT

          25. Plaintiffs repeat and reallege all of the allegations contained in paragraphs

             1 through 24 above, as if set forth fully herein.

          26. That Defendant Bath P.D. owed Plaintiffs a duty in the exercise of its

             ministerial duties effecting the arrest of Defendant Ater.

          27. That Defendant Bath P.D. breached that duty when it failed to follow its

             protocol and procedures to effectuate the arrest of Defendant Ater, despite

             probable cause to do so and despite the opportunity to in fact do so.



                                             5
Case 2:19-cv-00568-JDL Document 1 Filed 12/18/19 Page 6 of 11                   PageID #: 6




          28. That Defendant Bath P.D. breach of that duty directly and proximately led

             to and allowed Defendant Ater the opportunity to kidnap and violently

             attack Plaintiff in her home.

          29. But for that breach of duty, Defendant Ater would have been incarcerated

             and unable to commit the offenses against Plaintiffs.

          30. Defendant Bath P.D. was deliberately indifferent to a known substantial

             risk of serious harm to Plaintiffs by Defendant Ater.

          31. That as a direct and proximate result of Defendant Bath P.D.’s breach of

             its duty to Plaintiffs and its deliberate indifference to a known substantial

             risk of serious harm to Plaintiffs, Plaintiffs sustained significant physical

             and emotional damages and lost wages.

                            COUNT II-DUE PROCESS
                          BATH POLICE DEPARTMENT

          32. Plaintiffs repeat and reallege all of the allegations contained in paragraphs

             1 through 31 above, as if set forth fully herein.

          33. By its actions in both notifying Defendant Ater of his pending arrest and

             failing to effectuate the arrest, the Bath P.D. created a significant danger to

             Plaintiffs, depriving them of due process of law as guaranteed by both the

             Maine and federal Constitutions.

          34. Upon information and belief that the Bath P.D. violated its protocols and

             standards under the circumstances, creating such danger to Plaintiffs.

          35. The Bath P.D.’s actions and deliberate indifference were so egregious and

             outrageous that they shock the contemporary conscience.

          36. The Bath P.D.’s deprival of due process caused Plaintiffs significant



                                             6
Case 2:19-cv-00568-JDL Document 1 Filed 12/18/19 Page 7 of 11                    PageID #: 7




             physical and emotional damages.

                     COUNT III---NEGLIGENCE
             DEFENDANT PHIPPSBURG POLICE DEPARTMENT

          37. Plaintiffs repeat and reallege all of the allegations contained in paragraphs

             1 through 36 above, as if set forth fully herein.

          38. That Defendant Phippsburg P.D. owed Plaintiffs a duty in the exercise of

             its ministerial duties effecting the arrest of Defendant Ater.

          39. That Defendant Phippsburg P.D. breached that duty when it failed to

             follow its protocol and procedures to effectuate the arrest of Defendant

             Ater, despite probable cause to do so and despite the opportunity to in fact

             do so.

          40. That Defendant Phippsburg P.D. breach of that duty directly and

             proximately led to and allowed Defendant Ater the opportunity to kidnap

             and violently attack Plaintiff in her home.

          41. But for that breach of duty, Defendant Ater would have been incarcerated

             and unable to commit the offenses against Plaintiff.

          42. Defendant Phippsburg P.D. was deliberately indifferent to a known

             substantial risk of serious harm to Plaintiffs by Defendant Ater.

          43. That as a direct and proximate result of Defendant Phippsburg P.D.’s

             breach of its duty to Plaintiffs and its deliberate indifference to a known

             substantial risk of serious harm to Plaintiffs, Plaintiffs sustained

             significant physical and emotional damages.

                           COUNT IV-DUE PROCESS
                      PHIPPSBURG POLICE DEPARTMENT




                                            7
Case 2:19-cv-00568-JDL Document 1 Filed 12/18/19 Page 8 of 11                  PageID #: 8




          44. Plaintiffs repeat and reallege all of the allegations contained in paragraphs

             1 through 43 above, as if set forth fully herein.

          45. By its actions in both notifying Defendant Ater of his pending arrest and

             failing to effectuate the arrest, the Phippsburg P.D. created a significant

             danger to Plaintiffs, depriving them of due process of law as guaranteed

             by both the Maine and federal Constitutions.

          46. Upon information and belief that the Phippsburg P.D. violated its

             protocols and standards under the circumstances, creating such danger to

             Plaintiffs.

          47. The Phippsburg P.D.’s actions and deliberate indifference were so

             egregious and outrageous that they shock the contemporary conscience.

          48. The Phippsburg P.D.’s deprival of due process caused Plaintiffs

             significant physical and emotional damages.

                         COUNT V---NEGLIGENCE
                   DEFENDANT MAINE PRETRIAL SERVICES

          49. Plaintiffs repeat and reallege all of the allegations contained in paragraphs

             1 through 48 above, as if set forth fully herein.

          50. That Defendant Maine Pretrial Services owed Plaintiffs a duty in the

             exercise of requesting the arrest of Defendant Ater for known violations of

             his Maine Pretrial Services bail contract.

          51. That Defendant Maine Pretrial Services breached that duty when it failed

             to follow its protocol and procedures to seek the arrest of Defendant Ater,

             despite probable cause to do so and despite the opportunity to in fact do

             so.



                                            8
Case 2:19-cv-00568-JDL Document 1 Filed 12/18/19 Page 9 of 11                    PageID #: 9




          52. That Defendant Maine Pretrial Services breach of that duty directly and

             proximately led to and allowed Defendant Ater the opportunity to kidnap

             and violently attack Plaintiff in her home in the presence of their daughter.

          53. But for that breach of duty, Defendant Ater would have been incarcerated

             and unable to commit the offenses against Plaintiff.

          54. Defendant Maine Pretrial Services was deliberately indifferent to a known

             substantial risk of serious harm to Plaintiffs by Defendant Ater.

          55. That as a direct and proximate result of Defendant Maine Pretrial

             Services’ breach of its duty to Plaintiffs and its deliberate indifference to a

             known substantial risk of serious harm to Plaintiffs, Plaintiffs sustained

             significant physical and emotional damages and lost wages.


                        COUNT VI-ASSAULT & BATTERY
                               COREY ATER

          56. Plaintiffs repeat and reallege all of the allegations contained in paragraphs

             1 through 55 above, as if set forth fully herein.

          57. That Defendant Ater committed offensive physical contact against

             Plaintiff Melissa Ater causing her significant physical and emotional

             injury and damages.

                    COUNT VII-MAINE CIVIL RIGHTS ACT
                              COREY ATER

          58. Plaintiffs repeat and reallege all of the allegations contained in paragraphs

             1 through 57 above, as if set forth fully herein.

          59. Defendant Ater intentionally interfered by physical force and violence

             with the exercise and enjoyment of Plaintiff Melissa Ater’s rights



                                            9
Case 2:19-cv-00568-JDL Document 1 Filed 12/18/19 Page 10 of 11                    PageID #: 10




              guaranteed by both the Maine and federal Constitutions.

           60. Defendant Ater’s interference with Plaintiff Melissa Ater’s civil rights

              caused Plaintiff significant physical and emotional injuries.

                        COUNT VIII---NEGLIGENCE
                   DEFENDANTS OFFICERS JOHN DOE 1 & 2

           61. Plaintiffs repeat and reallege all of the allegations contained in paragraphs

              1 through 60 above, as if set forth fully herein.

           62. That Defendants Officers Doe 1 & 2 owed Plaintiffs a duty in their

              ministerial duties in effecting the arrest of Defendant Ater.

           63. That Defendants Officers Doe 1 & 2 breached that duty when they failed

              to follow protocol and procedures to effectuate the arrest of Defendant

              Ater, despite probable cause to do so and despite the opportunity to in fact

              do so.

           64. Defendants Officers Doe 1 & 2 breach of that duty directly and

              proximately led to and allowed Defendant Ater the opportunity to kidnap

              and violently attack Plaintiff in her home.

           65. But for that breach of duty, Defendant Ater would have been incarcerated

              and unable to commit the offenses against Plaintiff.

           66. Defendants Officers Doe 1 & 2 were deliberately indifferent to a known

              substantial risk of serious harm to Plaintiffs by Defendant Ater.

           67. That as a direct and proximate result of Defendants Officers Doe 1 & 2’s

              breach of their duty to Plaintiffs and their deliberate indifference to a

              known substantial risk of serious harm to Plaintiffs, Plaintiffs sustained

              significant physical and emotional damages and lost wages.



                                            10
Case 2:19-cv-00568-JDL Document 1 Filed 12/18/19 Page 11 of 11                     PageID #: 11




                                 COUNT IX-DUE PROCESS
                                  OFFICERS DOE 1 & 2

             68. Plaintiffs repeat and reallege all of the allegations contained in paragraphs

                1 through 67 above, as if set forth fully herein.

             69. By their actions in failing to effectuate the arrest of Defendant Ater,

                Defendants Doe 1 & 2 created a significant danger to Plaintiffs, depriving

                them of due process of law as guaranteed by both the Maine and federal

                Constitutions.

             70. Upon information and belief that the Defendants Doe 1 & 2 violated their

                protocols and standards under the circumstances, creating such danger to

                Plaintiffs.

             71. Defendants Doe 1 & 2’s actions and deliberate indifference were so

                egregious and outrageous that they shock the contemporary conscience.

             72. Defendants Doe 1 & 2’s deprival of due process caused Plaintiffs

                significant physical and emotional damages and lost wages.

         WHEREFORE, Plaintiffs respectfully demand judgment against Defendants in

  such amount as is reasonable under the circumstances for compensatory and punitive

  damages in an amount to be determined at trial with prejudgment interest thereon.


  Date: December 18, 2019                       /s/ Verne Paradie, Jr.
                                                Verne E. Paradie, Jr.
                                                Bar No. 8929
                                                217 Main Street, Suite 400
                                                Lewiston, ME 04240
                                                207-333-3583




                                               11
